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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:23-MJ-00152 AC

12                                Plaintiff,            UNITED STATES’ MEMORANDUM
                                                        REGARDING DETENTION
13                          v.
                                                        DATE: November 22, 2023
14   Dr. KHURSHEED HAIDER,                              TIME: 2:00 p.m.
                                                        COURT: Hon. Deborah Barnes
15                               Defendant.

16

17           The government respectfully submits this memorandum in anticipation of a detention hearing.

18 The government has grave concerns as to the danger defendant poses to the community because

19 defendant has sought out, distributed, and possessed child pornography that involves boys and girls

20 appearing to be the same age and sex as two children in his household: one age 3 (girl), and one age 5
21 (boy). The defendant may also pose a flight risk. For all the reasons detailed below, the government

22 continues to seek detention in this case.

23      I.       Defendant requests, distributes, and possesses child pornography involving crying
24               infants, bestiality, and BDSM, among other things.

25           The Honolulu Division of the FBI shared information about an investigation involving suspects
26 trading files of child sexual abuse material (CSAM) with others using Wire, 1 among other means of

27           1
             Wire is an application that allows users to send text messages, make voice and video calls, and
   share files. It offers end-to-end encryption, can be accessed from smartphones and computers, and a
28 user can log in using an email address or phone number and password.

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 1 communication. A suspect was arrested in Honolulu (hereinafter HN), and agents obtained information

 2 from HN’s Wire application. Agents also subsequently assumed HN’s identity on Wire.

 3          In September 2023, agents uncovered evidence between May and September 2023 that included

 4 a user, “kingg”, posting, distributing, and/or requesting CSAM that included pre-pubescent boys and

 5 girls, bestiality, and BDSM (bondage, domination, sadism, and masochism). By the end of September,

 6 agents linked “kingg” to an IP address assigned to the internet connection at HAIDER’s home in

 7 Roseville, California. 2 Following additional investigation and surveillance, a search warrant was

 8 authorized for HAIDER’s home, cars, and person, for evidence of distribution and possession of child

 9 pornography.

10          On Wire, HAIDER posted videos in a chat room that involve pre-pubescent boys and girls. One

11 video depicts a pre-pubescent girl crying out in pain as she is anally penetrated by a sex toy and has oral

12 sex performed on her. HAIDER separately engaged in a chat exchange with another Wire user where

13 HAIDER sent the user a video of a female infant crying while she is raped and ejaculated on by an adult

14 male; HAIDER then wrote “Yummm … .” HAIDER was told by the other Wire user that this video was

15 “too young” for him.

16          HAIDER also exchanged chats with this Wire user where he discussed trading bestiality

17 materials; during one of these chats, HAIDER sent a video of bestiality with a pre-pubescent girl and an

18 adult male.

19          HAIDER also sent a video of a pre-pubescent, very young boy receiving oral sex from a female,

20 and tells the Wire user that he wants pornography involving cute “dickies,” meaning “Lil boys.”
21 Separately, HAIDER repeatedly asked if the Wire user would share “bdsm,” at one point referring to it

22 as “any good bdsm vid.”

23          A limited preview of the devices seized pursuant to the search warrant executed on November

24 20, 2023, revealed more than 600 images/videos (as calculated under the sentencing guidelines) of child

25 pornography on one of HAIDER’s laptops, and at least 11 videos on HAIDER’s iPhone that were

26 viewed as recently as November 10, 2023.

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           Agents also learned that “kingg” had used both an Apple device running Mac OS X (suggesting
28 an Apple laptop or desktop computer) as well as an Apple iPhone to access the Wire application.

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 1      II.       Defendant discusses molesting children on the Wire Application and he has
                  access to children.
 2

 3             Defendant discussed his sexual interest in children on the Wire application. During one

 4 conversation, defendant described what he would do to the Wire user’s daughter: “I fck her assss.”

 5 Defendant further discussed the three “all kiss[ing] each other,” and described the Wire user’s daughter

 6 using a sex toy on that person’s penis and performing oral sex on him.

 7             Defendant is a pulmonologist, works at at least one hospital, and also performs video visits; he

 8 may have access to children through these aspects of his work. Separately, there are 4 children in the

 9 defendant’s home – ages 18, 14, 5 and 3. Three are girls. Defendant has discussed his specific sexual

10 interest in a “daughter” on Wire, while also requesting, distributing, and possessing disturbing

11 pornography depicting both toddlers and children – boys and girls – that are either the same, or around

12 the same age, and as the youngest children in his home (a boy and a girl).

13      III.      Defendant may also pose a flight risk.

14             During the execution of the search warrant at defendant’s home, agents observed a U.S. Passport,

15 as well as other expired Pakistani passports. It is presently unknown whether defendant also has an

16 active Pakistani passport, or any other passports. Agents also understand HAIDER has notable financial

17 resources. Defendant’s access to cash and possession of at least one passport are relevant to the Court’s

18 assessment of whether the defendant also poses a flight risk. The government respectfully requests to

19 provide additional information or argument on this issue as more information becomes available.

20      IV.       Conclusion

21             The government respectfully requests the Court consider the information above at the

22 defendant’s upcoming detention hearing and find no condition or combination of conditions are

23 sufficient to protect the public and ensure defendant’s appearance at future proceedings.

24
      Dated: November 21, 2023                                 PHILLIP A. TALBERT
25                                                             United States Attorney
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                                                         By: /s/ ALEXIS KLEIN
27                                                           ALEXIS KLEIN
                                                             Assistant United States Attorney
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